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                                                           Tuesday, 13 February, 2018 08:58:34 AM
                                                                      Clerk, U.S. District Court, ILCD

                     IN THE UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF ILLINOIS
                              URBANA DIVISION

UNITED STATES OF AMERICA,               )
                                        )
                    Plaintiff,          )
                                        )
      vs.                               )      Case No. 17-CR-20037
                                        )
BRENDT A. CHRISTENSEN,                  )
                                        )
                    Defendant           )

                                 NOTICE OF APPEARANCE

      The United States hereby notifies the Court that Trial Attorney James B. Nelson

hereby enters an appearance as co-counsel on behalf of the United States.



                                        Respectfully submitted,

                                        JOHN E. CHILDRESS
                                        UNITED STATES ATTORNEY

                                        /s/ James B. Nelson
                                        James B. Nelson, Bar No. NV 9134
                                        Trial Attorney
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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 13, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to counsel of record.



                                          /s/ James B. Nelson
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